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                                   STATEMENT OF FACTS

        Your affiant, Patrick Francisco, is a Special Agent of the Federal Bureau of Investigation.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Special Agent, I am authorized by law or by a government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Within the West Front of the Restricted Grounds there were additional temporary barriers
due to preparations and ongoing construction for the Inauguration including green snow fencing
and signage stating, “Area Closed By order of the United States Capitol Police Board.” The
exterior plaza of the U.S. Capitol was also closed to members of the public. The below picture
indicates all area within the red lines designated as a secure area with no public access as
previously referenced in the “Area Closed By order of the United States Capitol Police Board.”




                                                  Figure 1

        On January 6, 2021, at approximately 2:27 p.m., on the West side of the Capitol building
near scaffolding on the south side of the inaugural stage and within the restricted area outlined on
the map above, there was a push by rioters who broke through a line of law enforcement gathered
in the area to protect the Capitol.

        At approximately 2:30 p.m., MPD Lieutenant (“Lt.”) J.B. (who is currently a Captain) was
stationed in the area when he was alerted by a fellow MPD officer to a firearm that had emerged
from the crowd of rioters and was on the ground. In Figure 2 below, which is a still shot from Lt.
J.B.’s Body Worn Camera (“BWC”), the fellow MPD officer can be seen dragging the firearm out
of the crowd of rioters using his right foot:




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                                               Figure 2

The officer then directed Lt. J.B.’s attention to the gun by pointing at it, as seen in Figure 3 below:




                                               Figure 3

       Figure 4 below, a still shot from Lt. J.B.’s BWC, shows that Lt. J.B. picked up the firearm
from the ground at approximately 2:30 p.m. The firearm was held in a distinctive holster that
displayed an image of the American flag and had the words “We The People” written on it:



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                                          Figure 4

     At approximately 2:33 p.m., as seen in Figure 5 below, Lt. J.B. handed the firearm to MPD
Commander (“Cdr.”) R.K.:




                                          Figure 5

       Following the events of January 6, 2021, the FBI received a tip from an anonymous
individual stating that Jerod BARGAR and his friend posted photographs to Facebook saying that
they were ten feet away from the individual who was shot inside the Capitol.


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        As a result of this tip, on January 18, 2021, FBI agents interviewed BARGAR at his home
in Centralia, Missouri, in a non-custodial interview. BARGAR told FBI agents that is cellular
telephone number was XXX-XXX-3136. BARGAR stated that he travelled to Washington, D.C.
by car on January 5, 2021, with his friend in order to participate in a political rally. He stated that
after the rally, he and his friend walked to the Capitol building where they witnessed “chaos.”
BARGAR stated that he did not enter the Capitol building or participate in illegal activity because
he knew where the “line” was. BARGAR stated it was obvious officers were trying to keep people
out of the Capitol. At this time, the FBI was not aware that the firearm belonged to BARGAR and
BARGAR did not mention it.

        The Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”) conducted a search
to determine the firearm’s ownership based on its serial number. The firearm was not initially
identified as belonging to BARGAR. However, further investigation led law enforcement to
identify BARGAR as the true owner of the firearm.

       The ATF’s search of the firearm returned a result for an individual, D.F.

        On June 14, 2021, FBI agents interviewed D.F. at his home in Missouri in a non-custodial
interview. D.F. told the agents that he had not owned the firearm for several years and could not
remember if he had sold it or pawned it. D.F. stated that he pawned several of his firearms at a
specific pawn shop located in Jefferson City, Missouri.

        On June 16, 2021, FBI agents interviewed B.P., an employee of the aforementioned pawn
shop in Jefferson City, Missouri, at the shop, in the non-custodial interview. B.P. informed the
agents that D.F. had pawned the firearm to the shop in November 2011, and that subsequently in
the same month, the firearm was purchased by R.N.

        On July 13, 2021, FBI agents interviewed R.N. at his home in Missouri in a non-custodial
interview. R.N. confirmed that the firearm had previously belonged to him, and that he had given
the firearm to his stepson, Jerod BARGAR, approximately one and a half years prior to the
interview.

        On July 13, 2021, FBI agents interviewed BARGAR and his friend at the home of the
friend in Centralia, Missouri, in a non-custodial interview. During the interview, BARGAR stated
that his cellular telephone number was XXX-XXX-3136. BARGAR also stated that BARGAR
and his friend were in Washington, D.C. and at the Capitol on January 6, 2021. BARGAR stated
that he and his friend were near the front of a group of protesters in front of the Capitol building
when the police began to spray tear gas and to deploy other munitions into the crowd. At that
time, BARGAR stated, a woman was knocked to the ground and BARGAR and his friend reached
down to help her up. A short time after doing so, BARGAR stated, he realized he had lost his
firearm. FBI agents showed BARGAR Figure 4, above, which is a photograph of the FNH 9-
millimeter semi-automatic pistol, model FNX-9, bearing serial number FX1U000997, that Lt. J.B.
recovered from the Capitol grounds on January 6, 2021. BARGAR identified himself as the owner
of the firearm. BARGAR stated that he wore the firearm in an inside-the-waistband patriot motif
holster. BARGAR stated that he is always armed and wanted to be armed when he went to the
“belly of the beast” for his own “self-protection.” BARGAR stated that he did not know at the

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time he travelled to Washington, D.C. that it was illegal to possess a handgun in Washington, D.C.
or on Federal property. BARGAR stated that he and his friend stayed at the Willard Hotel in
Washington, D.C.

        Online investigation of BARGAR’s public Facebook account led to the following
information. The account was in the name of Jerod Bargar. The state of residence on the account
was listed as Missouri. BARGAR made several Facebook posts on January 5, 2021, and January
6, 2021, placing him in the Washington, D.C. area and on the National Mall. In a post dated
January 6, 2021, shown in Figure 6 below, BARGAR commented that he was with his friend and
wrote, “There’s patriots and traitors, where do you stand?” This post also showed an individual
your affiant believes to be Jerod Thomas BARGAR in several photographs that your affiant
believes to be on the National Mall in Washington, D.C. Your affiant believes BARGAR to be
the individual on the left in the photograph on the upper left in Figure 6 below, who is wearing a
blue, red, and white hat that appears to say “Trump” on it, and black sunglasses. Your affiant also
believes BARGER to be the individual who is standing second from the right in the photograph
on the upper right on Figure 6 below, who is wearing the hat previously described, a grey
windbreaker with a yellow design in the shoulder area, brown pants, and black sunglasses.




                                                Figure 6

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      In another post-dated January 6, 2021, shown in Figure 7 below, BARGAR commented,
“#FightForTrump #partiallypeacefulprotest #partofhistory.” This post also showed an individual
your affiant believes to be Jerod Thomas BARGAR in the middle of the photograph, who is
wearing a blue, red, and white hat that appears to say “Trump” on it, black sunglasses, and a grey
windbreaker with a yellow design in the shoulder area.




                                             Figure 7

       Figure 7 appears to be a “selfie” that was likely taken with a cellular telephone, and posted
on January 6, 2021 at 4:51 p.m.

       BARGAR’s profile photograph on Facebook, shown in Figure 8 below, appears to show
BARGAR in front of the Washington Monument, wearing the same clothing as in Figures 6 and
7, above.




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                                            Figure 8

       Your affiant compared the individual your affiant believes to be BARGAR in Figures 6
through 8 above with the individual pictured on the Missouri driver’s license photograph for Jerod
BARGAR, and the individuals pictured are consistent.

      Later investigation of BARGAR’s Facebook account revealed that he had changed the
name on the account to Thomas BARGAR, and the place of residence to New Jersey.

       Records provided by Facebook for BARGAR’s account list subscriber “Thomas Bargar”
and phone number XXX-XXX-3136, which is the cellular telephone number BARGAR provided
to FBI agents as his personal phone number when he was interviewed on January 18, 2021, and
July 13, 2021.

       Records provided by AT&T for phone number XXX-XXX-3136 list BARGAR’s wife as
the subscriber. These records also list the subscriber’s address as the same address BARGAR
provided to FBI agents as his home address when he was interviewed on January 18, 2021.

      Upon further inspection, the firearm was a FNH 9-millimeter semi-automatic pistol, model
FNX-9, bearing serial number FX1U000997 (the “firearm”). The firearm contained one 9-


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millimeter cartridges stamped “WIN 9mm LUGER” in the chamber and approximately fifteen 9-
millimeter cartridges in the magazine. The firearm had a total capacity of more than ten rounds.

       On January 6, 2021, after Cdr. R.K. took possession of the firearm from Lt. J.B., Cdr. R.K.
gave the firearm to the MPD Gun Recovery Unit. The MPD Gun Recovery Unit swabbed the
firearm and magazine in order to obtain DNA samples from both.

       The DNA sample swabs were subsequently sent to BODE Technology for analysis.

       On April 23, 2021, BODE Technology provided a report to the DC Department of Forensic
Sciences regarding an analysis of the two DNA sample swabs from the firearm and the magazine. 1

       BODE’s analysis indicated that with respect to the swab taken from the firearm, there were
four contributors to the DNA sample, including at least one male contributor. Only two of the
contributor samples were suitable for comparison.

        BODE’s analysis indicated that with respect to the swab taken from the magazine, there
were two contributors to the DNA sample, including at least one male contributor. However, none
of the contributor samples were suitable for comparison.

        Washington Area Law Enforcement System (“WALES”) and National Crime Information
Center (“NCIC”) checks were run on the firearm and revealed that the firearm was not registered
in the District of Columbia and that BARGAR was not licensed to carry a firearm in the District
of Columbia, as required by law. Although certain exemptions to the firearm registration
requirement exist, BARGAR is not subject to any of those exemptions.

       The state of Missouri does not require the registration of firearms.

        There are no firearm or ammunition manufacturers in the District of Columbia. Therefore,
the firearm and ammunition in this case would have necessarily traveled in interstate commerce.

        Based on the foregoing, your Affiant can conclude that BARGAR admitted that he
brought the firearm across state lines to the “Stop the Steal” rally that occurred in the District of
Columbia. BARGAR then brought the firearm onto restricted U.S. Capitol grounds in the
District of Columbia on January 6, 2021.

       Based on the foregoing, your Affiant submits that there is probable cause to believe that
Jerod Thomas BARGAR violated:

       1. 18 U.S.C. § 1752(a)(1), which makes it a crime to knowingly enter or remain in any
          restricted building or grounds without lawful authority to do so. There is also probable
          cause that BARGAR violated 18 U.S.C. § 1752(b)(1)(A), which calls for additional

1
  BODE is accredited by the ANSI National Accreditation Board (ANAB), which is a non-
governmental organization that provides accreditation services and training to public and private
sector organizations including laboratories.
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           punishment if the person committed the above offenses while carrying a deadly or
           dangerous weapon. For purposes of Section 1752 of Title 18, a “restricted building”
           includes a posted, cordoned off, or otherwise restricted area of a building or grounds
           where the President or other person protected by the Secret Service, including the Vice
           President, is or will be temporarily visiting; or any building or grounds so restricted in
           conjunction with an event designated as a special event of national significance.

       2. 40 U.S.C. § 5104(e)(1)(A)(i), which makes it a crime for an individual or group of
          individual to willfully and knowingly carry on or have readily accessible to any
          individual on the Grounds or in any Capitol Buildings, a firearm.

       3. 22 D.C. Code § 4504(a)(1), and 7 D.C. Code §§ 2502.01(a), and 2506.01(a)(3), which
          make it a crime for anyone to possess a pistol, firearm, or ammunition outside their
          home or place of business, in the District of Columbia, without a valid license and
          registration certificate issued by the District of Columbia.

       4. 7 D.C. Code § 2506.01(b) which makes it a crime for anyone to possess, sell, or transfer
          any large capacity ammunition feeding device, in the District of Columbia. The term
          “large capacity ammunition feeding device” means a magazine, belt, drum, feed strip,
          or similar device that has a capacity of, or that can be readily restored or converted to
          accept, more than 10 rounds of ammunition. The term “large capacity ammunition
          feeding device” shall not include an attached tubular device designed to accept, and
          capable of operating only with, .22 caliber rimfire ammunition.”
        As such, your Affiant respectfully requests that the court issue an arrest warrant for Jerod
Thomas BARGAR. The statements above are true and accurate to the best of my knowledge and
belief.


                                                       _________________________________
                                                       Patrick Francisco
                                                       Special Agent
                                                       Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of July 2022.                                       Digitally signed by G.
                                                                           Michael Harvey
                                                                           Date: 2022.07.29 11:18:15
                                                       ___________________________________
                                                                           -04'00'
                                                       G. MICHAEL HARVEY
                                                       U.S. MAGISTRATE JUDGE




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